Case 2:04-cr-20503-SH|\/| Document 56 Filed 08/22/05 Page 1 of 2 Page|D 73

 

FILED BY _“ 0_9_
IN THE: UNITED sTATEs DISTRICT coun'r
FoR THE: wEsTERN DISTRICT or TENNESSEE 0 ,
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WSM.GOULD
lf‘:~‘/'D-i.?‘lA €\-€E‘,MS

U'NITED S'I‘ATES OF AMERICA,
Plaintiff,
Vs. CR. NO. 04-20503~Ma

BRUCE BARNHILL,

-._/~_/'-_/-_._¢\-._r~_/V~_.JV

Defendant.

 

ORDER ON CONTINUZNCE AND BPECIFYING PERIOD OF EXCLUDABLE DELAX

 

This cause came on for a report date on. July 22, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning September 6, 2005 at 9:30 a.m., with a
report date of Friday, August 26, 2005 at 2:00 p.m.

The period from July 22, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

I'l‘ IS SO ORDERED this 22'& day of August, 2005.

MMM/L.__

 

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

This docL.ment entered on the docket s et in compliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 56 in
case 2:04-CR-20503 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

